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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    WILLIAM C. MILLER, individually                    :             CIVIL ACTION
    and on behalf others similarly                     :
    situated                                           :
                  Plaintiff                            :
                                                       :             NO. 21-0338
                  v.                                   :
                                                       :
    GENEVA LONE HILL, et al.                           :
             Defendants                                :
                                                 ORDER
        AND NOW, this 28th day of February 2022, upon consideration of Defendants’ motion to

compel responses to Defendants’ October 8, 2021 requests for production of documents, [ECF 29],

and Plaintiff’s response, [ECF 30], it is hereby ORDERED that Defendants’ motion is DENIED. 1


                                                  BY THE COURT:

                                                  /s/ Nitza I. Quiñones Alejandro
                                                  NITZA I. QUIÑONES ALEJANDRO
                                                  Judge, United States District Court




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         Defendants seek to compel Plaintiff to comply with the October 8, 2021 requests for production of
documents. Specifically, Defendants contend that Plaintiff’s responses to the requests were unspecific,
particularly, because it is unclear whether Plaintiff was withholding any documents in connection with
particular requests. In response, Plaintiff argues that he has produced all the documents he has in connection
with his claims against Defendants. Plaintiff further represents that he is not withholding any documents
apart from those protected by the attorney-client privilege, and that he has made good faith efforts to try to
obtain relevant documents by searching his online bank records and emails, and by visiting his bank. Since
it appears that Plaintiff has produced all relevant, discoverable documents in his possession and has made
a good faith attempt to obtain additional documents, Defendant’s motion to compel is denied.
